46 F.3d 1126
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Avery ROSE, Petitioner,v.PARAMOUNT COAL CORPORATION;  Director, Office of Workers'Compensation Programs, United States Department ofLabor, Respondents.
    No. 94-1643.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 18, 1994.Decided Jan. 17, 1995.
    
      Avery Rose, Petitioner Pro Se.
      Harry Ashby Dickerson, PENN, STUART, ESKRIDGE &amp; JONES, Abingdon, VA;  Christian P. Barber, J. Matthew McCracken, UNITED STATES DEPARTMENT OF LABOR, Washington, D.C., for Respondents.
      Before HALL and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1994).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Rose v. Paramount Coal Corp., No. 93-1183-BLA (B.R.B. Mar. 25, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    